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                         UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                              SOUTHERN DIVISION


DAKOTA TRUCK UNDERWRITERS;              )       CIV. 07-4036-KES
FIRST DAKOTA INDEMNITY                  )
COMPANY; and                            )
RISK ADMINISTRATION SERVICES,           )
INC.,                                   )
                                        )   JUDGMENT OF DISMISSAL
           Plaintiffs,                  )
                                        )
   vs.                                  )
                                        )
CERTAIN UNDERWRITERS OF                 )
LLOYD'S OF LONDON, a syndicate          )
of underwriters,                        )
                                        )
           Defendants.                  )


         Pursuant to the Motion to Dismiss With Prejudice and the

accompanying Stipulation of Dismissal, it is hereby

         ORDERED, ADJUDGED, AND DECREED that this action is dismissed

with prejudice and on the merits, without fees or costs to any party.

         Dated December 11, 2007.

                                BY THE COURT:



                                /s/ Karen E. Schreier
                                KAREN E. SCHREIER
                                CHIEF JUDGE
